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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                   )
                                           )          No. 16 CR 793
             v.                            )
                                           )          Judge Andrea R. Wood
MICHAEL PERSAUD                            )

                  PRELIMINARY ORDER OF ABANDONMENT

      This matter comes before the Court on motion of the United States for entry of

a preliminary order of abandonment, pursuant to Title 28, United States Code,

Section 1651and Title 41, Code of Federal Regulations, Section 128-48.1, and the

Court being fully informed hereby finds as follows:

      (a)    On December 8, 2016, an indictment was returned charging defendant

Michael Persaud with wire fraud, in violation of 18 U.S.C. ' 1343;

      (b)    During the investigation that led to the indictment in this case, law

enforcement officers seized the following (“subject property”):

             1. a MacBook Air, model A1369, S/N: C02H60GCDRQ4, with power
                supply;

             2. a Dell Studio XPS, model PP35L, S/N: 21F18J1 with power supply;

             3. an iMac, model A1419, S/N: D25N601YFLHH, with keyboard,
                mouse, and notepad; and

             4. a Dell Studio XPS, model 8000se, S/N: GR6YDK1.

      (c)    On June 25, 2021, an agreement to defer prosecution was entered for

twelve months for the purpose of allowing defendant Michael Persaud to demonstrate

his good conduct during this period;

      (d)    On June 30, 2022, after the defendant satisfied all conditions of the

agreement to defer prosecution, including payment of restitution, this Court entered
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an order dismissing the indictment;

      (e)    Following the Court’s disposition of all third-party interests, the Court,

if appropriate, shall declare the subject property abandoned which shall vest clear

title in the United States of America.

      Accordingly, it is hereby ORDERED, ADJUDGED AND DECREED:

      1.     The government’s motion for entry of a preliminary order of

abandonment is granted. It is further ordered,

      2.     That, pursuant to the provisions of 28 U.S.C. ' 1651, 41 C.F.R. ' 128-48.1,

and the defendant’s plea agreement, all right, title and interest defendant Michael

Persaud has in the following property is hereby relinquished and abandoned to the

United States of America for disposition according to law:

             a) a MacBook Air, model A1369, S/N: C02H60GCDRQ4, with power
                supply;

             b) a Dell Studio XPS, model PP35L, S/N: 21F18J1 with power supply;

             c) an iMac, model A1419, S/N: D25N601YFLHH, with keyboard,
                mouse, and notepad; and

             d) a Dell Studio XPS, model 8000se, S/N: GR6YDK1.

It is further ordered,

      3.     That, pursuant to the provisions of 41 C.F.R. ' 128-48.102-1, the United

States shall publish notice of this order on an official government website which shall

provide notice of its intent to dispose of the foregoing property according to law. It is

further ordered,

      4.     That, following the Court=s disposition of all third party interests, the


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Court, if appropriate, shall declare the foregoing property abandoned which shall vest

clear title in the United States of America. It is further ordered,

         5.   This Court shall retain jurisdiction over this matter to take any

additional action and enter further orders as necessary to implement and enforce this

order.



                                               _________________________
                                               ANDREA R. WOOD
                                               United States District Judge
Dated: August 4, 2022




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